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IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF ALABAMA
SOUTHERN DIVISION

KIM M. HOWARD,
Plaintiff,

vs CIVIL ACTION NO.

MIDLAND CREDIT 1:09-cv-686

MANAGEMENT, INC. and
MIDLAND FUNDING, LLC,

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Defendants.
JOINT STIPULATION OF DISMISSAL
COME NOW Kim M. Howard ("Plaintiff") and defendants Midland Credit

Management, Inc. and Midland Funding, LLC (collectively "Defendants"), and
hereby jointly request that this Court dismiss, with prejudice, each claim and count
therein asserted by Plaintiff against Defendants in the above-styled action with
Plaintiff and Defendants to bear their own fees and costs.

WHEREFORE, PREMISES CONSIDERED, Plaintiff and Defendants
respectfully request this Court to enter an Order of Dismissal, with prejudice,
relating to all of Plaintiff's claims asserted against Defendants in this matter with

Plaintiff and Defendants to bear their own fees and costs.

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CHyb— submitted,

 

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